                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA                Case No. 1:22-cr-00432-SDG-JEM

v.

SHELITHA ROBERTSON,

       Defendant.


                      DEFENDANT ROBERTSON’S
                 MOTION FOR JUDGMENT OF ACQUITTAL


      Defendant Shelitha Robertson files this Motion for Judgment of Acquittal

pursuant to Federal Rule of Evidence 29(a), and moves the Court to enter

judgment of acquittal in favor of Defendant on all charges in the Indictment.

      The Government has charged Ms. Robertson with alleged conspiracy to

commit wire fraud under 18 U.S.C. § 1349, alleged wire fraud under 18 U.S.C. §§

1342 and 2, and alleged money laundering under 18 U.S.C. §§ 1957 and 2. See Doc.

# 1. Specifically, it has charged that Ms. Robertson, “having devised and intending

to devise a scheme and artifice to defraud,” “knowingly and intentionally” agreed

with Chandra Norton “and other individuals” to obtain money and property by

means of materially false and fraudulent representations “with the intent to

advance the conspiracy.” Id., ¶ 13. The Government alleges that the purpose of the
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alleged conspiracy was for Robertson and her co-conspirators “to unjustly enrich

themselves by fraudulently obtaining [Paycheck Protection Program (PPP)] loans

under false and misleading pretenses…” Id. at ¶ 14.

      In order to convict a defendant for allege wire fraud conspiracy, the

Government must present evidence beyond a reasonable doubt that “(1) that a

conspiracy to commit wire fraud existed; (2) that the defendant knew of it; and (3)

that the defendant knowingly and voluntarily joined it.” United States v. Fisher, No.

21-11879, 2022 WL 4138863, at *14 n. 8 (11th Cir. Sept. 13, 2022) (quoting United

States v. Feldman, 931 F.3d 1245, 1257 (11th Cir. 2019)). The elements of a wire fraud

charge are “(1) intentional participation in a scheme to defraud and (2) use of the

interstate wires in furtherance of the scheme.” United States v. Hasson, 333 F.3d

1264, 1270 (11th Cir. 2003) (citing United States v. Ross, 131 F.3d 970, 984 (11th Cir.

1997)). Finally, “[t]o convict a defendant of money laundering under § 1957 the

government must prove (1) that the defendant knowingly engaged or attempted

to engage in a monetary transaction in criminally derived property of a value

greater than $10,000, and (2) that the property is derived from specified unlawful

activity.” United States v. Molina, 413 F. App'x 210, 213 (11th Cir. 2011) (per curiam)

(citing 18 U.S.C. § 1957(a); United States v. Silvestri, 409 F.3d 1311, 1332-1333 (11th

Cir. 2005)).

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      “[A]fter the government closes its evidence,” a court faced with a defense

motion “must enter a judgment of acquittal of any offense for which the evidence

is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a).

      Guilt in a criminal case must be proved beyond a reasonable doubt
      and by evidence confined to that which long experience in the
      common-law tradition, to some extent embodied in the Constitution,
      has crystallized into rules of evidence consistent with that standard.
      These rules are historically grounded rights of our system, developed
      to safeguard men from dubious and unjust convictions, with resulting
      forfeitures of life, liberty and property.

Brinegar v. United States, 338 U.S. 160, 174, 69 S. Ct. 1302 (1949). “[T]he government

is required to prove beyond a reasonable doubt each element of a criminal offense,

[cit.] and the failure to do so is fatal to the case.” United States v. McLean, 802 F.3d

1228, 1231 (11th Cir. 2015) (internal citation omitted) (citing United States v. Gaudin,

515 U.S. 506, 115 S.Ct. 2310 (1995)).

      “‘[A] motion of acquittal must be granted when the evidence, viewed in the

light most favorable to the Government, is such that a reasonably minded jury

must have a reasonable doubt as to the existence of the essential elements of the

crime charged.’” United States v. Sink, 586 F.2d 1041, 1048–1049 (5th Cir. 1978)

(quoting United States v. Barrera, 547 F.2d 1250, 1255 (5th Cir. 1977); quoting United

States v. Reynolds, 511 F.2d 603 (5th Cir. 1975)).




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      The Eleventh Circuit Court of Appeals has held that “‘there must be

‘substantial evidence’ connecting [a defendant] to a conspiracy.’” United States v.

Toler, 144 F.3d 1423, 1427 (11th Cir. 1998). Courts in this Circuit have granted or

upheld judgments of acquittal on conspiracy charges where a reasonable jury

could possess a reasonable doubt regarding the existence of the elements of the

offense. See United States v. Barona-Bravo, 685 Fed. Appx. 761, 767 (11th Cir. 2017)

(per curiam; unpublished) (noting, in the trial of defendants on conspiracy and

drug charges, that the trial court had granted judgment of acquittal to the captain

of a cargo vessel from which contraband was seized, “as the evidence had

demonstrated that he was ignorant of the smuggling operation onboard…”);

United States v. White, 256 Fed. Appx. 333, 335 (11th Cir. 2007) (per curiam;

unpublished) (noting that “the district court granted [the defendant’s] motion for

judgment of acquittal to the extent that there was no evidence to sustain a

conspiracy charge [pursuant to 18 U.S.C. § 371] against him relating to [various]

counts…’); United States v. Barrera, 547 F.2d 1250, 1255 (5th Cir. 1977) (reversing

the defendants’ convictions for conspiring to possess and possession with intent

to distribute, approximately 875 grams of heroin, in violation of 21 U.S.C. §§ 846

and 841(a)(1), holding that “in our view, the trial judge should not have sent the

case to the jury because under the circumstances presented herein he should have

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determined that a reasonably minded jury must necessarily have had a reasonable

doubt of the guilt of [the defendants]”).

      Viewing the evidence favorably to the Government, the Government has

failed to produce evidence sufficient to support any finding beyond a reasonable

doubt by the jury that Ms. Robertson allegedly knowingly and intentionally

agreed with Norton and others to fraudulently obtain PPP loans for her alleged

enrichment. See Doc. # 1, ¶¶ 13, 14. On the contrary, testimony and evidence

elicited during the Government’s case indicates that Ms. Robertson returned all of

the PPP loan proceeds which she received.

      The Government has similarly failed to introduce evidence to justify any a

finding beyond a reasonable doubt that Ms. Robertson allegedly knowingly

transmitted or caused to be transmitted the PPP loan disbursements on May 1, 8

and 15, 2020, to sustain its wire fraud charges. See Doc. # 1, ¶ 30. Moreover, the

Government’s evidence is insufficient to eliminate any reasonable doubt to

establish that Ms. Robert allegedly knowingly paid for the item of jewelry alleged

in the Indictment knowing that funds used to pay for the item were derived wire

fraud, as required to obtain a conviction on its money laundering charge. Id. at ¶

32.




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      Based upon the grounds and authorities set forth herein, Defendant Shelitha

Robertson respectfully requests that the Court grant her Motion for Judgment of

Acquittal and order judgment of acquittal in favor of the Defendant as to all

charges in the Indictment.

      Respectfully submitted, this 15th day of December, 2023.

                                        /s/ Anthony C. Lake_____________
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               CERTIFICATE OF COMPLIANCE AND SERVICE

      The undersigned hereby certifies, pursuant to LCivR 7.1(D), that the

foregoing document has been prepared with one of the font and point selections

(Book Antigua, 13 point) approved by the Court in LCivR 5.1(B).

      The undersigned hereby further certifies that on this 15th day of December,

2023, the undersigned served the foregoing document by filing the document via

the Court’s Case Management/Electronic Case Filing (CM/ECF) system, which

will automatically serve notice of such filing on all attorneys of record.

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